      Case 1:05-cr-00047-DHB-BKE Document 246 Filed 11/14/06 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT                                       mr
                                                                                                  Ir
                      FOR THE SOUTHERN DISTRICT OF GEORGIA                        FMMJ.J .

                                     AUGUSTA DIVISION




UNITED STATES OF AMERICA                        *

       VS .                                     *    CRIMINAL ACTION NO . 105-4 7

                                           I!   "P
SEVERO S . DELATORRE




                                         ORDER


       IT IS HEREBY ORDERED that due to the nature of Government's Exhibit 1 ,

which was submitted by the Government during the jury trial in the above captioned case, the

stated exhibits are to be return ed to counsel for the United States of America for safekeeping

overnight ..

       SO ORDERED this 14`h day of November, 2006 .




                                                DUDLEY H. BOWEN, JR ., JUD
                                                UNITED STATES DISTRICT COURT
